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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

FORT PIERCE DIVISION
CONNIE LYNN MADRAY and
MELODY HOLDEN,
Plaintiffs, : Case No. 96-14235-CIV-ROETTGER
: Magistrate Judge Lynch

VS.

PUBLIX SUPER MARKETS, INC.
a Florida Corporation, and RONALD

SELPH,
Defendants.
INDEX OF DOCUMENTS IN SUPPORT OF DEFENDANT’S MOTION.
FOR SUMMARY JUDGMENT
(VOLUME I OF ID
VOLUME I
I. Deposition Transcripts:
Exhibit 1: Excerpts from Deposition Transcript of Plaintiff Connie
Lynn Madray dated September 3, 1997 (“Madray Dep. p.
__”).
Exhibit 2: Excerpts from Deposition Transcript of Plaintiff Melody
Holden dated September 2, 1997 (“Holden Dep. p.__”).
VOLUME Il
Il. Declarations:
Exhibit 3: Declaration of Richard Rhoads (“Rhoads Decl. {____”).
wy ; LA
il. Exhibits: p Ne
f U
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Exhibit 4: Publix’ Open Door Policy, Sexual Harassment and Humah NY
Resources 4

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Exhibit

Exhibit

10:

11:

12:

13:

Notice of Charge of Discrimination for Connie Madray and
Melody Holden.

Complaint Form submitted to Publix by Holden.

Complaint Form submitted to Publix by Madray.

Joseph y. Publix Super Markets, Inc., Slip Op. No. 95-152-
Civ-Atkins, 1997 U.S. Dist. LEXIS 17851 (S.D. Fla.
August 29, 1997) (Atkins, J.).

Guy vy. Day Products, Inc., Slip Op. No. 94-1699, 1995
U.S. Dis. LEXIS 17620 (E.D. Pa. November 29, 1995.

Weaver v. Florida Power & Light, 1996 U.S. Dist. LEXIS
13403, 10 Fla. Law W. Fed. D205, Slip Op. 95-8519-Civ-
Ryskamp (S.D. Fla. 1996).

Click v. Tire Kingdom, Inc., Slip Op. No. 94-1164-Civ-
Nesbitt (S.D. Fla. 1996).

Hutcheson v. TIX Companies, Inc., Slip. Op. No. 97-6379-
Civ-Hurley (S.D. Fla. December 22, 1997).

Haq v. United Airlines, Inc., 1996 U.S. Dist. LEXIS 21043,

Slip Op. No. 93-2248-Civ-Marcus (S.D. Fla. April 16,
1966).

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Respectfully submitted,

ALLEY and ALLEY/FORD & HARRISON LLP

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been served by
U.S. First Class Mail upon:

Mr. Stuart M. Address
Rubin & Rubin
Post Office Box 395
Stuart, Florida 34995

and
Mr. William S. Reese
Lane, Reese, Aulick, Summers & Field, P.A.

2600 Douglas Road, Suite 304
Coral Gables, Florida 33134

on the 8th day of January, 1998.

Attorney

/tlm/imw
F:\WP\CL\PUBLIX\MADRAY\LITIGATE\INDEX. |

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ADDITIONAL
ATTACHMENTS

NOT

SCANNED

PLEASE REFER TO COURT FILE

